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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                     DECLARATION OF JANE KIM
         -v.-
                                                                         24 Cr. 542 (AS)
 SEAN COMBS,

                          Defendant.


STATE OF NEW YORK             )
COUNTY OF NEW YORK            ) ss.
SOUTHERN DISTRICT OF NEW YORK )

       JANE KIM hereby declares under penalty of perjury:

       1.       I am a Deputy Chief of the Criminal Division, in the Office of Damian Williams,

United States Attorney for the Southern District of New York. I am not a member of the

prosecution team responsible for the investigation that led to the above-referenced case (the

“Investigation”). I submit this Declaration in response to the Court’s Order of December 2, 2024

(Dkt. 93), and in support of the Government’s opposition to the Defendant’s motion of October 9,

2024 (Dkt. 31).

       2.       I understand that Assistant United States Attorneys (“AUSAs”) Meredith Foster,

Emily Johnson, Christy Slavik, Madison Smyser, Mitzi Steiner, and Maurene Comey are

responsible for the investigation and prosecution of Defendant Sean Combs (i.e., the

Investigation). I have learned that two Special Agents and one Task Force Officer with the United

States Department of Homeland Security, Homeland Security Investigations (“HSI”), and one

Special Agent and two Task Force Officers with the United States Attorney’s Office for the

Southern District of New York (“SDNY”), are responsible for the Investigation.
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         3.     On December 2 and December 3, 2024, I separately spoke to each of the six AUSAs

assigned to the Investigation, each of the two HSI Special Agents assigned to the Investigation,

the HSI Task Force Officer assigned to the Investigation, the SDNY Special Agent assigned to the

Investigation, and each of the two SDNY Task Force Officers assigned to the Investigation, about

the allegations of disclosures contained in the Defendant’s submissions to the Court. They each

affirmed that they have not disclosed information they learned during the course of the

Investigation to any member of the press.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated:          New York, New York
                December 3, 2024

                                       By:    /s Jane Kim
                                              Jane Kim
                                              Deputy Chief, Criminal Division
                                              United States Attorney’s Office
                                              Southern District of New York




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